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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA
     v.
SUE MI TERRY,                               No. 24-cr-00427-LGS

          Defendant.




   BRIEF OF PROPOSED AMICUS CURIAE THE REPORTERS COMMITTEE
             FOR FREEDOM OF THE PRESS IN SUPPORT OF
            DEFENDANT’S MOTION TO DISMISS INDICTMENT




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                        CORPORATE DISCLOSURE STATEMENT

       The Reporters Committee for Freedom of the Press is an unincorporated nonprofit

association of reporters and editors with no parent corporation and no stock.




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                              INTEREST OF AMICUS CURIAE

       Proposed amicus curiae is the Reporters Committee for Freedom of the Press (the

“Reporters Committee” or “amicus”), an unincorporated nonprofit association founded by

leading journalists and media lawyers that advocates on behalf of the First Amendment rights of

the press. Amicus has an interest in ensuring that the Foreign Agents Registration Act

(“FARA”), 22 U.S.C. § 611 et seq., is not enforced or interpreted in a manner that hinders or

dissuades the press from gathering and reporting news and information. Amicus writes to

underscore the potentially wide-ranging implications of this prosecution for the free flow of

information to the public.

                                       INTRODUCTION

       When passed in the lead up to World War II, FARA’s purpose was to regulate foreign

agents who disseminate “propaganda” by requiring them to register with the U.S. government.

But the current text of the law sweeps more broadly. Under FARA, an agent is any person who

acts at the “request” of a foreign principal, which is defined as any person or entity domiciled

overseas, and “in the interests of such foreign principal.” 22 U.S.C. § 611(c)(1)(i). By its plain

terms, FARA can be read to apply to the kind of newsgathering, reporting, and commentary on

which the public relies for ideas and information. For example, a journalist who receives a story

tip from any foreign entity or person and writes that story would technically trigger FARA’s

registration obligation—and criminal exposure—by acting at the “request” of a “foreign

principal.” If enforced in this way—the way the government in this prosecution of Sue Mi Terry

(“Terry”) seeks—it could require many journalists to choose between registration or criminal

prosecution for engaging in First Amendment protected activity. While the law carves out a

subset of news organizations from the definition of agent of a foreign principal, id. § 611(d), the

narrow exemption applies “solely by virtue of any bona fide news or journalistic activities,”


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leaving what qualifies as “bona fide” up to the discretion of the enforcer or a court. In short,

what began as a transparency statute to tamp down on wartime propaganda operations has now,

because of its textual sweep, the potential to become closer to an outright licensing statute of the

press—one that would be poison for a professional who, unlike a lawyer or public relations

consultant on retainer and taking instructions from a client, relies on both actual and perceived

autonomy to survive.

       Despite its facial breadth and vague language, FARA has largely avoided constitutional

scrutiny, in part because criminal prosecution under the statute has been rare. FARA has not

been used to prosecute the press in the modern era. But as the Terry indictment illustrates, that

may be attributable to prosecutorial grace, not any inherent limitation in the broad statutory text.

Several of the allegations in the indictment that Terry challenges here are materially

indistinguishable from opinion journalism, including allegations that Terry cultivated sources

within the South Korean government, asked those sources for information, and published op-eds

and made media appearances based on that information. Sealed & Redacted Indictment, ECF

No. 2 ¶¶ 1, 3, 13; Indictment Part 2, ECF No. 2-1 ¶¶ 39–42, 48–51. If such allegations may form

the basis for a prosecution, the possibility that FARA could extend to traditional journalism

increases.

       Accordingly, amicus offers two points in support of Terry’s motion to dismiss the

indictment on First Amendment grounds.

       First, journalists routinely engage in activity that closely resembles what is alleged in the

Terry indictment, up to and including acting at the “request” of foreign sources to disseminate

information that the foreign source believes could impact U.S. policymaking. To the extent

FARA can reach that activity, it could chill newsgathering both through direct enforcement




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against journalists, and by putting sources in fear that their disclosure of information could

trigger registration requirements or criminal exposure under FARA. It is therefore essential that

FARA be enforced and interpreted narrowly, in line with historical practice where enforcers and

courts have been careful not to sweep in journalistic activity.

       Second, the fact that FARA can be deployed against activities including source

cultivation and reporting based on information gleaned from such sources raises the distinct

possibility of selective enforcement, a hallmark of unconstitutional vagueness. See Nieves v.

Bartlett, 587 U.S. 391, 406–07 (2019) (expressing concerns about selective enforcement of

generally applicable statutes against those engaged in First Amendment activity in the context of

arrests). Relatedly, expanding enforcement of FARA to cover journalistic activity would render

the statute overbroad under the First Amendment.

                                          ARGUMENT

I.     Applying FARA to interactions with foreign sources and other journalistic activity
       would chill newsgathering and not serve the public interest.

       The government has charged Terry with violations of FARA based on alleged activities

that look a lot like source cultivation, the receipt and dissemination of information from sources,

and the use of editorial discretion. ECF No. 2 ¶¶ 1, 3, 13; ECF No. 2-1 ¶¶ 39–42, 48–51.

Specifically, the indictment alleges that Terry met a South Korean official for dinner where she

was “presented” with “talking points on North Korean policy,” which she then “repeated in

media appearances and in an article” published in a magazine. ECF No. 2-1 at ¶¶ 39–42. To

insinuate this was nefarious, the indictment frames the official as her “[h]andler” who “dictated”

the “talking points” to her, evidenced by her texting them to herself. Id. The indictment goes on

to allege that Terry texted a South Korean official a list of questions, which were then answered,

and that Terry later published an article that was “broadly consistent with the responses” by the



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official. Id. ¶¶ 48–49.1 With respect to the conspiracy count, four of the sixteen alleged overt

acts in support of the conspiracy relate directly to the publication of articles in newspapers and

magazines. See id. ¶¶ 64(b), 64(l), 64(o), 64(p).

       Journalists—including journalists whose work focuses on opinion, commentary, and

analysis—cultivate sources and rely on those sources to report information in the public interest.

See, e.g., Editorial Writing, The Pulitzer Prizes (last visited Mar. 5, 2025), https://www.pulitzer.o

rg/prize-winners-by-category/214; Reporters’ Relationships with Sources, 53 Neiman Rep. No. 3

at 10–12 (1999), https://perma.cc/822K-3PQG (discussing mechanics of regular source

cultivation efforts); William E. Lee, Deep Background: Journalists, Sources, and the Perils of

Leaking, 57 Am. U. L. Rev. 1453, 1518 (2008) (journalists are “master[s]” at building

relationships with government officials); Michael J. Borden, The Role of Financial Journalists in

Corporate Governance, 12 Fordham J. Corp. & Fin. L. 311, 329–31 (2007) (sources inside

institutions play an important role in “funneling” stories to journalists). Further, simply because

a source persuades an opinion journalist to hold the same opinion as the source does not mean

that the journalist is expressing that opinion at the direction of the source. See, e.g., The Role of

Reporters’ Judgment, 53 Neiman Rep. No. 3, at 15–16 (1999), https://perma.cc/822K-3PQG

(discussing reliance on sources and importance of journalistic independence). A reporter’s

ability to cultivate relationships with sources, evaluate the information they provide, and publish




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        The government also alleges Terry accepted gifts and meals from persons in the South
Korean government. While receipt of gifts from a source may be an ethical question for
journalists, it does not meaningfully alter the analysis of whether criminal prosecution under
FARA is appropriate. Indeed, the acceptance of funding is not dispositive of “agency” under
FARA. See Michele Amoruso E Figli v. Fisheries Dev. Corp., 499 F. Supp. 1074, 1082 (S.D.N.Y.
1980) (“Even the receipt of a bona fide subsidy from a foreign source does not render the
recipient an agent of that source as long as the recipient is not subject to foreign direction or
control.”); Att’y Gen. v. Irish People, Inc., 796 F.2d 520, 524 (D.C. Cir. 1986) (same).


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it when it is newsworthy is a public good, because “in a society in which each individual has but

limited time and resources with which to observe at first hand the operations of his government,

he relies necessarily upon the press to bring to him in convenient form the facts.” Cox Broad.

Corp. v. Cohn, 420 U.S. 469, 491 (1975).

       Reporting on foreign affairs takes many different forms. Some reporting involves

synthesizing and disseminating information provided by foreign sources seeking to change or

influence foreign policy in the U.S. and abroad. For example, in 2019, the New York Times

reported on China’s treatment of ethnic minorities based on documents provided by a source who

the Times described as “a member of the Chinese political establishment who requested

anonymity and expressed hope that their disclosure would prevent party leaders, including Mr.

Xi, from escaping culpability for the mass detentions.” Austin Ramzy & Chris Buckley,

‘Absolutely No Mercy’: Leaked Files Expose How China Organized Mass Detentions of

Muslims, N.Y. Times (Nov. 16, 2019), https://perma.cc/X2UF-CYDS. Other reporting requires

the exchange of information between international and domestic journalists and news

organizations. For example, in 2016, an anonymous source leaked a cache of documents from a

law firm headquartered in Panama that revealed information about the business dealings of

public officials and figures around the world. The source sent these “Panama Papers” to a

German newspaper, which shared them with the International Consortium of Investigative

Journalists, a U.S.-based organization. The ICIJ then facilitated information sharing and

reporting by a number of other outlets, all of which led to wide-ranging enforcement activity and

legal reforms. See Carmen Molina Acosta, Where Are the Key Panama Papers Figures, Seven

Years Later?, International Consortium of Investigative Journalists (Apr. 3, 2023),

https://perma.cc/RQ7Z-EYGL. And still other reporting involves conveying the statements and




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opinions professed by foreign officials—including those of U.S. adversaries. See Face the

Nation, Nikita Khrushchev on Face the Nation in 1957, YouTube (June 1, 2017), https://yout

u.be/XAG6D73gttA?si=8R1C1TkR-ZTYvl9c.

        Journalism is a fundamentally different enterprise than the typical target of FARA, the

strategy consultant or public affairs professional who works on retainer and in a fiduciary

relationship with a foreign client. For journalists, independence, both perceived and real, is

essential to one’s credibility. See Stephen J. Adler, Fostering a Culture of Newsroom

Independence, Colum. J. Rev. (Feb. 20, 2025), https://perma.cc/63SX-L8CQ. In that sense,

deploying FARA to force registration and labeling under penalty of criminal sanction poses a

unique and acute threat to press freedom. Not only would journalists face pressures to avoid

reporting that could trigger scrutiny from the FARA Unit, but even the intimation of foreign

influence would fatally undermine the trustworthiness of the journalism in the eyes of the reader,

listener, or viewer.2 And that concern illustrates the insidiousness of deploying FARA against

journalistic activity. Were it applied to require journalists to register or face criminal penalties, it

would operate much like a licensing regime: either one registers and labels one’s reporting

accordingly, or one faces criminal prosecution, and the effective silencing of the reporting. And

government licensing of the press is not just antithetical to the First Amendment, but one of the

corrupting aspects of English colonial rule that drove the Founders to adopt the Press Clause in



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        For this reason, Meese v. Keene, 481 U.S. 465 (1987), would not apply in a case
involving FARA’s application based on interactions between journalists or news organizations
and foreign principals. In Keene, the Supreme Court rejected a pre-enforcement challenge to
FARA’s labeling requirements by a third-party who sought to display films by a registered agent
without their attendant labels because the statute’s prior designation of such materials as
“political propaganda” was not “pejorative.” Id. at 480–81. That case says nothing about
whether FARA’s could constitutionally be applied to punish or deter speech simply because the
government feels that speech aligns too closely with the views of a foreign speaker. And that is
exactly what the government seeks to do here.


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the first place. See Grosjean v. American Press Co., 297 U.S. 233, 246–48 (1936) (surveying

history of crown licensing).

       In sum, the application of FARA to the cultivation of source relationships and the

dissemination of information gathered through those relationships could chill foreign affairs

reporting on matters of public concern, such as the manifestly newsworthy reporting noted above

regarding human rights abuses, financial misconduct, and war. It could dissuade journalists and

news organizations from reporting for fear of direct enforcement, and sources concerned about

triggering registration obligations or prosecution for failure to register will not come forward. It

is therefore essential that FARA be applied narrowly.

II.    Were FARA triggered by routine journalistic activity, it would raise several
       constitutional concerns.

       As detailed above, FARA is, textually, an exemplar of a broad and vague statute. Read

literally and in isolation, it could apply to the collection and dissemination by the press of

newsworthy information from foreign sources. And the vagueness in the law poses a particular

risk of selective enforcement, were the statute to be deployed in line with its expansive phrasing.

Historically, however, it has not been interpreted in that manner and it is essential that it continue

to be narrowly applied to avoid these constitutional concerns.

       A.      FARA is susceptible to politicized and selective enforcement.

       FARA is sweeping in its language. It applies to any “agent of a foreign principal,”

defined in relevant part as a person or entity who engages in covered activities at “the order,

request, or under the direction or control, of a foreign principal . . . .” 22 U.S.C. § 611(c). The

term “agent” in the statute is not restricted by traditional definitions of agency. Id. Rather, an

agent is any person who acts at the “request” of a foreign principal “in the interests of such

foreign principal.” Id. § 611(c)(1)(i). And “foreign principal” isn’t limited to foreign



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governments or even quasi-state actors; it expressly includes any person or entity domiciled

overseas, id. § 611(b), ranging from the Saudi Arabian government to a private business in

Mexico to, as has been observed, “one’s grandmother in Canada,” Nick Robinson, FARA Is a

Catchall Statute—and That’s a Problem, Lawfare (Jan. 22, 2025), https://perma.cc/2ZWD-

CF2R.

        Furthermore, the statutory definition of the conduct covered could be read to encompass

most journalism, including opinion journalism. Specifically, covered activities include “political

activities” or acting as a “publicity agent” whenever those activities are “for or in the interests of

such foreign principal.” 22 U.S.C. § 611(c). These terms are, in turn, broadly defined to include

virtually any speech on matters of public concern. A “publicity agent” is any person “who

engages directly or indirectly in the publication or dissemination of . . . information or matter of

any kind.” Id. § 611(h). “Political activities” means “any activity that the person engaging in

[the activity] believes will, or that the person intends [the activity] to, in any way influence” the

U.S. government or “any section of the public” with reference to the “domestic or foreign

policies” of the U.S. or the “political or public interests, policies, or relations of a government of

a foreign country or a foreign political party.” Id. § 611(o).

        FARA’s exemptions do not cure these defects. The law has a nominal media exemption,

which provides that domestic “news or press service[s] or association[s]” do not need to register

“solely by virtue of any bona fide news or journalistic activities.” Id. § 611(d). This exemption

applies only to those media organizations that are 80 percent or more beneficially owned by U.S.

citizens and that restrict their officers and directors to U.S. citizens. Id. It is a standard few

media companies with international backing could meet. See, e.g., Linh Nguyen, Fortune

Magazine’s New Owner Is Member Of Thailand’s Richest Family, Forbes (Nov. 9, 2018),




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https://perma.cc/36Q2-YYZA; Axel Springer Completes Acquisition of POLITICO, Axel

Springer (Oct. 19, 2021), http://perma.cc/8CT8-Y7BL. Moreover, what constitutes a “bona fide”

journalistic activity is undefined. Others have noted the uncertainty “particularly for nonprofits,

media organizations, and public officials” created by FARA’s sweep and textual ambiguity. See

Nick Robinson, “Foreign Agents” in an Interconnected World: FARA and the Weaponization of

Transparency, 69 Duke L. J. 1075, 1081 (2020).

       It is well settled that a statute is void for vagueness if it is “so vague that it fails to give

ordinary people fair notice of the conduct it punishes, or so standardless that it invites arbitrary

enforcement.” Johnson v. United States, 576 U.S. 591, 595 (2015) (citation omitted). Vague

laws are particularly offensive to the First Amendment because they “entrust lawmaking to the

moment-to-moment judgment of the policeman on his beat,” thereby furnishing a “a convenient

tool for harsh and discriminatory enforcement by local prosecuting officials, against particular

groups deemed to merit their displeasure.” Kolender v. Lawson, 461 U.S. 352, 360 (1983)

(cleaned up). Unless narrowed in its application, FARA is such a law. That FARA fails to

provide fair notice is demonstrated by the fact that would-be-registrants, including media

organizations, are often funneled to DOJ’s advisory opinion process for a definitive answer on

whether they must register. See, e.g., Amending and Clarifying Foreign Agents Registration Act

Regulations, 90 Fed. Reg. 40, 42 (Jan. 2, 2025), (declining to adopt a narrowing interpretation of

agency and asserting agency “is a fact-intensive exercise better suited to the advisory-opinion

process”); Adv. Op., Dep’t of Just. (July 13, 2018), https://perma.cc/72J3-6KY4 (seeking advice

on whether media organization was required to register relating to editorial by foreign official).

This kind of structure, in which a speaker is in practice required to ask permission before




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speaking under threat of criminal penalties, is, again, uncomfortably close to a press licensing

regime.

       And FARA’s history does indeed feature politicized enforcement efforts aimed at stifling

the advocacy of disfavored ideas. See generally Robinson, supra, at 1116–30 (discussing

politically motivated enforcement efforts against civil rights activist W.E.B. Du Bois and Peace

Information Center, environmental non-profits, and certain foreign media). More recently, U.S.

officials have called for or threatened FARA investigations of foreign-owned media and

explicitly cited coverage perceived as unfavorable as grounds. See, e.g., Alexandra Ellerbeck

and Avi Asher-Schapiro, Everything to Know About FARA, and Why It Shouldn’t Be Used

Against the Press, Columbia Journalism Rev. (June 11, 2018), https://perma.cc/4Y4V-N7P8 (“In

a rare show of bipartisan unity, three Democratic congressmen joined with 16 GOP lawmakers”

to complain of Al Jazeera’s “troubling record of ‘anti-American’ coverage” and to “make an

unusual request of the Department of Justice” to investigate it under FARA).

       Finally, an unusual feature of FARA, were it interpreted to apply to journalists who

gather and distribute information gleaned from “foreign principals,” is that it could operate not

just as a content-based regulation of speech, but a regulation based on viewpoint. That is, FARA

is triggered by covered activities “for or in the interest of” a foreign principal. See 22 U.S.C.

§ 611(c)(1)(i)–(iv). Thus, publishing an editorial piece consistent with the views expressed by a

foreign official could trigger the law’s application, while an editorial in opposition to those views

would not. Indeed, many of the allegations in the Terry indictment appear to be predicated on

that theory. See ECF No. 2 ¶¶ 1, 3, 13; ECF No. 2-1 ¶¶ 39–42, 48–51. That feature of FARA

underscores the potential for politicized and selective enforcement in the law.




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       B.      Were it applicable to protected journalistic activity, FARA would also be
               unconstitutionally overbroad.

       Applying FARA to traditional journalism would also render FARA overbroad. Under the

doctrine of First Amendment overbreadth, a law may be “invalidated as overbroad if a

substantial number of its applications are unconstitutional, judged in relation to the statute’s

plainly legitimate sweep.” United States v. Stevens, 559 U.S. 460, 473 (2010) (internal

quotations omitted). “[T]he threat of enforcement of an overbroad law may deter or ‘chill’

constitutionally protected speech—especially when the overbroad statute imposes criminal

sanctions.” Virginia v. Hicks, 539 U.S. 113, 119 (2003). This is because “many persons, rather

than undertake the considerable burden (and sometimes risk) of vindicating their rights through

case-by-case litigation, will choose simply to abstain from protected speech—harming not only

themselves but society as a whole, which is deprived of an uninhibited marketplace of ideas.”

Id. (internal citation omitted). Prosecuting those involved in the dissemination of speech based

on their journalistic activities has the potential to chill a substantial amount of speech on matters

of public concern, as discussed above in Section I.

       C.      The government and courts have historically been cautious in enforcing
               FARA against the press.

       Despite its textual sweep, for most of FARA’s history the law has evaded close

constitutional scrutiny. This is in large part because courts have construed FARA narrowly to

avoid applying it to news organizations, absent clear indicators of control by a foreign principal.

See Irish People, Inc., 796 F.2d at 523–24 (avoiding First Amendment challenge by recognizing

selective prosecution defense and construing FARA not to apply based on simple intermingling

of staff or agreement with editorial views of a foreign principal); United States v. Peace Info.

Ctr., 97 F. Supp. 255, 263 (D.D.C 1951) (avoiding First Amendment challenge by construing

FARA as “relat[ing] to practicing a vocation as an agent of a foreign principal, rather than to


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making a public speech”); see also Viereck v. United States, 318 U.S. 236, 244 (1943) (finding

FARA inapplicable to activities “not on behalf of . . . foreign principals”); Att’y Gen. v. Irish N.

Aid Comm., 668 F.2d 159, 161 (2d Cir. 1982) (explaining “request” as used in the statute is “not

to be understood in its most precatory sense”).3

       It is also because criminal prosecution under the statute has been relatively rare for most

of the statute’s lifespan, though it was deployed that way during World War II. During the war,

the statute was frequently used to suppress speech by those deemed “enemy aliens,” including in

cases implicating press activities.4 After the war, as noted, the statute was used to prosecute civil

rights activist W.E.B. Du Bois and an advocacy organization he chaired for distributing anti-

nuclear literature. Andrew Lanham, When W. E. B. Du Bois Was “Un-American”, Bos. Rev.

(Jan. 13, 2017), https://perma.cc/7Y6Z-NA7Z. Congress, however, added the carve-out for

“bona fide” journalistic activity in 1942, nominally sparing U.S. journalists and outlets from the

law’s application, although that exemption has never been litigated. Act to amend Foreign

Agents Registration Act, Pub. L. No. 77-532, 56 Stat. 248, 250 (1942).




3
        In light of these narrowing constructions, the Court need not reach the constitutional
issues presented by this case if it resolves this motion by finding that the indictment exceeds
FARA—as construed consistent with the First Amendment—and dismissing it on that basis.
When one of two “plausible statutory constructions” of a federal statute “would raise a multitude
of constitutional problems, the other should prevail.” Clark v. Martinez, 543 U.S. 371, 380–81
(2005). And when faced with potentially vague and overly broad federal criminal statutes, courts
have consistently construed them narrowly to avoid the constitutional issue. See, e.g., Skilling v.
United States, 561 U.S. 358, 405–06, 410–11 (2010); United States v. Kozminski, 487 U.S. 931,
949–50, 952 (1988).
4
        For example, during the war, the statute was used to prosecute and imprison a German-
American novelist and poet, to facilitate a prisoner exchange of German news service employees
for Americans, and to intern a naturalized Italian-American who distributed a “pro-Fascist”
weekly. See Report of the Attorney General to the Congress of the United States on the
Administration of the Foreign Agents Registration Act of 1938 at 534–36, 540 (1945),
https://perma.cc/GR7Z-7SUW (discussing Viereck, Zapp et al., and Trombetta).


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       In 1966, Congress again responded to concerns over the statute’s breadth and revised it to

narrow its definition of agency. See Act to amend Foreign Agents Registration Act, Pub. L. No.

89-486, 80 Stat. 244 (1966). At the time, Congress explained that it intended this change to

clarify that the law would no longer apply to “persons who are not, in fact, agents of foreign

principals but whose acts may incidentally be of benefit to foreign interests, even though such

acts are part of the normal exercise of those persons’ own rights of free speech, petition, or

assembly.” H.R. Rep. No. 1470, 89th Cong. 2d Sess. 5–6 (1966). Following these amendments,

the DOJ adopted implementing regulations that defined “control or any of its variants” as used in

the statute to denote “the possession or the exercise of the power, directly or indirectly, to

determine the policies or the activities of a person, whether through the ownership of voting

rights, by contract, or otherwise.” Compare 28 C.F.R. § 5.100(b) (2007), with Administration

and Enforcement of Foreign Agents Registration Act of 1938, As Amended, 32 Fed. Reg. 6362,

Order 376–67 (Apr. 22, 1967), https://perma.cc/GZB6-S8TG. In other words, even though the

text of the statute is more expansive, the DOJ has interpreted the statute to require “some degree

of authority over the agent” by the foreign principal for there to be an agency relationship. Dep’t

of Just., The Scope of Agency Under FARA, at 2 (May 2020), https://perma.cc/M6AS-LRWF.

Thus, at its discretion, DOJ interprets FARA to “not require registration simply because a person

expresses views that are favorable to or coincide with the interests of a foreign country or a

foreign person.” Id. at 1.

       With this limited interpretation of FARA’s scope, from 1966 to 2015, the DOJ only

brought seven criminal prosecutions and seventeen civil enforcement actions. See Nick

Robinson, supra, at 1077. During this time, there were no instances of speakers being criminally

prosecuted for engaging in traditionally journalistic conduct, such as newsgathering, cultivation




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of sources, or reporting. See Criminal Enforcement, Caplin & Drysdale, https://perma.cc/3CZT-

R62S (summarizing significant criminal prosecutions). In the rare instances where enforcement

efforts were directed towards the press, the dissemination of news was not the predicate. Thus,

in the only criminal prosecution involving the press, a newspaper publisher was prosecuted not

for his newsgathering, but for allegedly working with the South African government to acquire

several media companies with South African funds. See United States v. McGoff, 831 F.2d 1071,

1072 (D.C. Cir. 1987). And in the one civil enforcement action directly involving a newspaper,

the D.C. Circuit narrowly construed the term “agent of a foreign principal” to avoid applying

FARA to journalistic activities. See Irish People, Inc., 796 F.2d at 524.

       Since 2016, however, the DOJ has taken a more aggressive posture in enforcing FARA.

See Robinson, supra, at 1079 (observing recent uptick in FARA prosecutions following the

investigation into Russian interference in the 2016 election). And now with the factual

allegations in the Terry indictment that cover the cultivation of sources, receipt of information

from those sources, and the publication of commentary based on that information, the Justice

Department has taken FARA criminal enforcement too close to an uncomfortable edge vis-à-vis

the press. It is imperative that FARA be applied narrowly by the Court to avoid the myriad First

Amendment problems that would arise if FARA were given its literal textual sweep.

                                         CONCLUSION

       For these reasons, amicus respectfully urges the Court to grant Defendant’s Motion to

Dismiss.




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 DATED: March 5, 2025                 Respectfully submitted,

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